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                           UNITED STATES BANKRUPTCY COURT
                                            Southern District of Georgia

In re:                                                                             Case No.: 22−10356−SDB
Lorenzo D. Nealious and Tamiko F. Nealious,                                        Judge: Susan D. Barrett
       Debtors.
                                                                                   Chapter: 7



                                                   FINAL DECREE



The estate of the above named debtor has been fully administered.


IT IS ORDERED THAT:
Joseph E. Mitchell III is discharged as trustee of the estate of the above−named debtor and the bond is canceled; and the case
of the above debtor is closed.


                                                                      Susan D. Barrett,
                                                                      United States Bankruptcy Judge
                                                                      Federal Justice Center
                                                                      600 James Brown Blvd
                                                                      P.O. Box 1487
                                                                      Augusta, GA 30903

Dated: September 6, 2022




B272 [07/14] VWW
